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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION

STATE OF TEXAS,                                     )
                                                    )
                       Plaintiff.                   )
                                                    )
                                                    )
                                                    )
PFIZER. INC..                                       )
                                                    )
                       Defendant                    )   Civil Action No. 5:23-CV-3 'l 2-C

                                               ORDER

       On this date, the Court considered Defendant's Rule 12(bX6) Motion to Dismiss

Plaintiff s Complaint [ECF No. 17], along with the Brief in Support [ECF No. 18]. The Court

further considered Plaintiff s Opposition to the Motion to Dismiss [ECF No. 23], along with

Defendant's Reply [ECF No. 27]. Finally, the Court considered the Supplemental Authority filed

by Defendant. The Court need not repeat the issues and facts presented in light ofthe Parties'

extensive and thorough briefing on the same. The issues relevant to the Motion to Dismiss tum

on questions of law that can be decided on the pleadings.

       After careful consideration of the arguments, applicable law, and circumstances

presented, the Court finds that the Motion to Dismiss is GRANTED.

       More specifically, the Court finds that as a matter of law under the circumstances of this

case, the Defendant is entitled to immunity under the Public Readiness and Emergency Act

("PREP Acf).' Moreover, both the PREP Act and the Food, Drug, and Cosmetic Act ("FDCA")




       lDel'endant asks the Court to take judicial notice of the circumstances related to the COVID- I 9
pandemic, Operation Warp Speed, and national emergency that was declared in relation to the pandemic
The Court takcsjudicial notice ofthese facts and circumstances.
   Case 6:24-cv-01128-DDC-BGS             Document 28-1       Filed 12/30/24         Page 2 of 2
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preempts Plaintiils claims. Finally, the Court finds that the alleged statemenls by Defendant

were not connected to any "trade or commerce" or any "consumer transaction."

       Thus. Plaintiff's claims against Det-endant are hereby DISMISSED for essentially the

reasons argued in the Motion and Reply.

       SO ORDI]RED
                      /
       Dated this .10 day of December, 2024.



                                                          I   Z4 ?'?'7'/'4.      )
                                             S       R.           GS
                                                     OR   ITED STA         S   ISTRICT JUDGE




                                                 2
